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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-02203-CMA-NRN

  ERICA REINERS, individually and on behalf of all others similarly situated,

  Plaintiff,

  v.

  PARAGON FITNESS, LLC d/b/a PARAGON FITWEAR, LLC, a Michigan limited liability
  company,

  Defendants.

                                     MINUTE ORDER

  Entered by Magistrate Judge N. Reid Neureiter

          It is hereby ORDERED that the Motion for Extension of Time to Respond to
  Complaint (Dkt. #10) is GRANTED. Defendant shall answer or otherwise respond to
  Plaintiff’s Complaint (Dkt. #1) on or before October 20, 2020.

  Date: August 26, 2020
